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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )

               v.                            )      CR. NO. 21-114 (TJK)

KEVIN STRONG                                 )

____________________________________)

                          UNOPPOSED MOTION TO CONTINUE

       Kevin Strong, through undersigned counsel, respectfully moves this Honorable Court to

continue the plea hearing scheduled for October 20th until December 8th, 9th or 10th. The

government does not oppose this motion. The parties need additional time to review and finalize

the plea agreement.

       The parties agree that the exclusion of time under the Speedy Trial Act is warranted until

the next hearing date.



                                             Respectfully Submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER
                                             ____/s/________________
                                             UBONG E. AKPAN
                                             Assistant Federal Public Defender
                                             625 Indiana Ave., N.W.
                                             Washington, D.C. 20004
                                             (202) 208-7500
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                               CERTIFICATE OF SERVICE


       I, Ubong E. Akpan, certify that on this 17th day of October 2021, I caused a copy of the

foregoing Unopposed Motion to be filed through the Electronic Case Filing (“ECF”) system and

served a copy on counsel for the government through the ECF.

                                                       /s/_________________
                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender
